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UN|TED STATES OF AMERlCA, U_S{ DtSTBlCTC(lIRT

W OF iii `-ri:;"tli)ill$
Cr. No. 04-20383-Ma

)
)
P|aintiff, )

)

v. )
)

CLARENCE S. DAVIS, )
)

)

Defendant.

 

 

After having conducted a hearing pursuant-to 18 U.S.C. 4241(d)(1), and having
heard from the United States Representative, Counse| for Mr. Davis and the evaluating
physician, the Court finds that |Vlr. Davis suffers from a severe mental defect that
requires hospitalization for treatment.

The Court hereby Orders that the defendant Clarence S. Davis shall be
committed to the custody of the Attorney General pursuant to 18 U.S.C. 4241 (d)(1) for
treatment as it is necessary to determine whether there is substantial probability that in
the foreseeable future he will attain the capacity to permit the trial in this cause to
proceed.

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lt is so ORDERED this day of August, 2005.

_QA/”L,

SAMUEL H. MAYS, JR.
United States District Judge

 

 

APP

/V

Stephé?\' C.’Parker, AUSA

Thls document entered on the docket sh et ln compliance
with R.lle 55 and/or 32tbl FHCrP on -

UNer sATES ISTRIC COURT - ESTER DISITRCT OF TENNESSEE

   

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Honorable Samuel Mays
US DISTRICT COURT

